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           NOTE: This order is nonprecedential.


   United States Court of Appeals
       for the Federal Circuit
                  ______________________

         In re: WAVERLY LICENSING LLC,
                       Petitioner
                ______________________

                         2023-109
                  ______________________

    On Petition for Writ of Mandamus to the United States
District Court for the District of Delaware in Nos. 1:22-cv-
00420-CFC and 1:22-cv-00422-CFC, Chief Judge Colm F.
Connolly.
                  ______________________

                      ON PETITION
                  ______________________

     Before DYK, BRYSON, and PROST, Circuit Judges.
PER CURIAM.
                        ORDER
    Waverly Licensing LLC filed these suits in the United
States District Court for the District of Delaware. On Sep-
tember 21, 2022, the district court ordered Waverly’s man-
aging member to attend a hearing on December 6, 2022, to
determine whether Waverly complied with the court’s
standing orders concerning (1) disclosure of owners, mem-
bers, and partners of nongovernmental entities that are
parties before the court and (2) disclosure of certain third-
party funding arrangements in litigation before the court.
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Waverly petitions this court for a writ of mandamus that
would direct the district court to cancel the hearing and
end its “judicial inquisition.” Pet. at 4.
     “As the writ [of mandamus] is one of the most potent
weapons in the judicial arsenal, three conditions must be
satisfied before it may issue”: the petitioner must show
(1) there is “no other adequate means to attain the relief he
desires,” (2) the “right to issuance of the writ is clear and
indisputable,” and (3) “the writ is appropriate under the
circumstances.” Cheney v. U.S. Dist. Ct. for D.C., 542 U.S.
367, 380–81 (2004) (internal quotation marks and citations
omitted). That standard has not been met.
    Waverly argues that the district court clearly over-
stepped its authority when it entered the standing orders.
But a direct challenge to those orders at this juncture is
premature, as Waverly has not been found to violate those
orders, and it will have alternative adequate means to raise
such challenges if, and when, such violations are found to
occur.
     Waverly further argues that it has an indisputable
right to terminate the district court’s inquiry because the
parties in both of the cases that are the subject of this pe-
tition have jointly stipulated to dismiss the actions under
Federal Rule of Civil Procedure 41(a)(2). In one case, Wa-
verly Licensing LLC v. Granite River Labs Inc., No. 1:22-
cv-00422 (D. Del.), the parties filed a joint stipulation of
dismissal on September 21, 2022, the same day that the
district court entered its order setting the December 6,
2022, hearing. Subsequent to filing that stipulation, Wa-
verly filed a motion to stay the litigation pending the dis-
position of a petition for a writ of mandamus in In re
Nimitz, No. 2023-103 (Fed. Cir.), another case challenging
the district court’s standing orders. Before the district
court ruled on the motion to stay, the parties in Waverly
Licensing LLC v. AT&T Mobility LLC, No. 1:22-cv-420 (D.
Del.), filed a joint stipulation of dismissal. The district
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court then granted the motion to stay both cases pending
the termination of the Federal Circuit’s stay in the Nimitz
case, and canceled the evidentiary hearing that had been
ordered for December 6, 2022. Meanwhile, this court de-
nied the Nimitz petition, noting that a challenge to the
standing orders was premature, and the district court has
taken no further action in these cases since that time.
    Here, as in Nimitz, the petition is premature. Given
that the district court has taken no further action in these
cases since its September 21 order, other than to grant Wa-
verly’s motion for a stay, the court has not addressed Wa-
verly’s argument that in light of the joint stipulated
dismissals the court may not conduct the proposed inquiry
into the accuracy of Waverly’s corporate disclosure state-
ments and compliance with the court’s standing order on
third-party litigation funding. Waverly’s contention that
the district court may not continue its inquiry following the
stipulated dismissals and that mandamus should be
granted on that ground is therefore premature.
    Notably, there is no absolute prohibition on a district
court’s addressing collateral issues following a dismissal.
Rather, “[i]t is well established that a federal court may
consider collateral issues after an action is no longer pend-
ing,” Cooter & Gell v. Hartmarx Corp., 496 U.S. 384, 395
(1990); see also Fed. R. Civ. P. 83(b); Chambers v. NASCO,
Inc., 501 U.S. 32 (1991) (a district court has authority to
regulate practice before it). Waverly has not shown that
the court acted so far outside of this authority to warrant
the extraordinary remedy of a writ of mandamus.
    Accordingly,
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    IT IS ORDERED THAT:
    The petition is denied.
                                   FOR THE COURT

 January 4, 2023                   /s/ Peter R. Marksteiner
       Date                        Peter R. Marksteiner
                                   Clerk of Court
